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1    JENNIFER MOUZIS
     Mouzis Criminal Defense
2    State Bar No. 200280
     1819 K Street, Suite 200
3    Sacramento, California 95811
     Telephone: (916) 822-8702
4    Facsimile: (916) 822-8712
5
     Attorney for Defendant
6    DIANA CERVANTES

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8                          IN THE UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,          )                    2:21-cr-00109-JAM
11                                      )
                             Plaintiff, )                    STIPULATION AND
12                                      )                    ORDER TO MODIFY SPECIAL
     v.                                 )                    CONDITIONS OF PRETRIAL
13
                                        )                    RELEASE (ECF 12).
14
                                        )
     DIANA CERVANTES,                   )
15                                      )
                             Defendant. )
16   __________________________________ )

17
                                               STIPULATION
18

19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Michael Redding, and defendant, Diana Cervantes, by and through her counsel,
21   Jennifer Mouzis, agree to a modification of defendant, Diana Cervantes’s Special Conditions of
22   Release.
23          The Defendant’s last appearance on this case was June 8, 2021, where Defendant
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     appeared in court for a Detention Hearing (ECF 11). Defendant was ordered released (ECF 15)
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     with Special Conditions of Pretrial Release (ECF 12).
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            Condition 9 of the Special Conditions of Release states, “You must not associate or have
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     any contact with your co-defendants unless in the presence of counsel or otherwise approved in
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                                    Stipulation and Order to Continue Status Conference
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     advance by the Pretrial Services Officer”. Defendant Diana Cervantes is married to co-
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     defendant, Victor Manuel Velazquez, who is still in custody. Counsel, Jennifer Mouzis
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     requested the condition be changed and counsel, Michael Redding agreed to a stipulation. U.S.
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     Pretrial Services, Intensive Supervision Specialist Darryl Walker was consulted and suggested
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     the following modification to Condition 9, “You must not associate or have any contact with
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     your co-defendants, with the exception of your husband, unless in the presence of counsel or

8    otherwise approved in advance by the Pretrial Services Officer. You must not speak about the

9    current federal case with your husband, unless in the presence of counsel.”

10          All parties agree that it is in the best interest of the defendant that the aforementioned

11   language replace the current language of Condition 9 of the Special Conditions of Release.
12   Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
13   IT IS SO STIPULATED.
14
     Dated: June 11, 2021                   PHILLIP A. TALBERT
15                                                Acting United States Attorney

16                                          By:     /s/ Michael Redding
                                                    MICHAEL REDDING
17                                                  Assistant United States Attorney

18   Dated: June 11,2021                             /s/ Jennifer Mouzis
                                                    JENNIFER MOUZIS
19                                                  Attorney for Defendant
                                                    DIANA CERVANTES
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                                    Stipulation and Order to Continue Status Conference
               Case 2:21-cr-00109-DAD Document 30 Filed 06/14/21 Page 3 of 3


1
                                                   ORDER
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            IT IS HEREBY ORDERED, the Court having received, read, and considered the parties’
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     stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
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     its order. Specifically, the Court orders that Defendant Diana Cervantes’s Special Conditions of
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     Release, Condition 9 be changed to say, “You must not associate or have any contact with your
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     co-defendants, with the exception of your husband, unless in the presence of counsel or

8    otherwise approved in advance by the Pretrial Services Officer. You must not speak about the

9    current federal case with your husband, unless in the presence of counsel.”

10   IT IS SO ORDERED.

11   Dated: June 11, 2021
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                                    Stipulation and Order to Continue Status Conference
